    Case 1:24-cv-04779-AMD-LB           Document 57      Filed 01/10/25       Page 1 of 2 PageID #: 634




                                          THE CITY OF NEW YORK
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                                                                   January 10, 2025

      VIA ECF
      Honorable Ann M. Donnelly
      United States District Judge
      Eastern District of New York
      225 Cadman Plaza
      Brooklyn, NY 11201

                       Re: Etan Leibovitz v. Procida, et al., 24-CV-4779 (AMD) (LB)

      Your Honor:

                     I am an Assistant Corporation Counsel in the Office of Muriel Goode-Trufant,
      Corporation Counsel of the City of New York, attorney for Defendant Weiss in the above-
      referenced matter. For the brief reasons stated herein, Defendant Weiss respectfully requests that
      her motion to dismiss be deemed unopposed.

                       Defendant Weiss moved to dismiss Plaintiff’s claims on December 5, 2024. See
      ECF Nos. 41-43. Pursuant to Magistrate Judge Bloom’s briefing schedule, Plaintiff’s opposition
      was due on January 6, 2025. See Dkt. Entry Dated December 4, 2024. On January 2, 2025, in
      response to what appeared to be an ex parte communication to Your Honor’s chambers, Plaintiff
      was reminded that his response to Defendant Weiss’ motion to dismiss was due by January 6,
      2025. See Dkt. Entry Dated January 2, 2025. At that time, Your Honor expressly warned
      Plaintiff that if he “does not file his response by January 6, 2025, the Court will consider the
      motion[] to dismiss fully briefed.” See id.

                      On January 6, 2025, plaintiff filed his Opposition to the State Defendants’ Motion
      to Dismiss. See ECF Nos. 54-56. To date, however, Plaintiff has not opposed Defendant Weiss’
      motion and it appears that he has no intention of doing so. Therefore, Defendant Weiss
      respectfully requests that her motion to dismiss be deemed unopposed.
Case 1:24-cv-04779-AMD-LB          Document 57      Filed 01/10/25      Page 2 of 2 PageID #: 635




               Defendant thanks the Court for its time and attention to this matter.



                                                             Respectfully submitted,

                                                             /s/ Mamoon Saleemi

                                                             Mamoon Saleemi
                                                             Assistant Corporation Counsel
                                                             Special Federal Litigation Division

  cc:   VIA REGULAR MAIL
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        VIA ECF
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